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                                              LAW OFFICES OF

                                      G. BRIAN SPEARS, P.C.

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Atlanta, Georgia 30306-4517                                                                FAX:   (404) 892-1128
                                                                                EMAIL: BSpears@mindspring.com
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      Clerk, United States District Court
      Northern District of Georgia
      2211 United States Courthouse
      75 Ted Turner Dr., S.W.
      Atlanta, Georgia 30303


               Re:    Berger v. Lawrence
                      Civil Action File No. 1:13-CV-3251-RWS


      Dear Sir or Madam:


      Please accept this letter as my request that a Writ of Execution be entered in the above-styled
      action. A completed form is enclosed.


      In addition, please provide a certified copy of the Judgment, D.E. 164, to the undersigned.
      My firm check in the amount of $11.50 is enclosed.


      Thank you.
                                                 Sincerely,




                                                 Brian Spears


      BS:tsk


      Enc.
